            Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 1 of 6 - Page ID#:
A0245B                                         17668
            (Rev. 09/11) Judgment in a Criminal Case
            Sheet lA                                                                                                Eastern DIstrict of KantugkY
                                                                                                                          F I LE b
                                           UNITED STATES DISTRICT COURT                                                  APR 16 2014
                                         Eastern District of Kentucky - Southern Division at London                         AT LEXINGTON
                                                                                                                          ROBERT R. CARR
                                                                                                                      CLERK U.S. DISTRICT COURT
                                                                        )
                 UNITED STATES OF AMERICA                               )
                                                                               JUDGMENT IN A CRIMINAL CASE
                                    v.                                  )
                                                                        )       Case Number:                 6:09-CR-16-SSS-KKC-O I
                  RUSSELL CLETUS MARICLE                                )                                    Formerly 6:09-CR-J6-S-DCR-OJ
                                                                        )
                                                                               USMNumber:                    12707-032
                                                                        )
                                                                        )       David S. Hoskins
                                                                                Defendant's Attorney
THE DEFENDANT:
181 pleaded guilty to count(s)        Isss
                                                                                                                      .. _ - _ ...   _-_ - ­
                                                                                                                                          ...

o   pleaded nolo contendere to count(s)
    which was accepted by the court.

o   was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section        Nature of Offense                                                                                Offense Ended             Count
    18: 1962(d)        RICO                                                                                                 7/17/07                Isss




       The defundant is sentenced as provided in pages 2 through        ___6 __ oflhis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

o   The defendant has been found not guilty on count(s)
                                                                                                  ...   - - _...   __ ... _ .._ ...
181 C       ()    all remaining counts and underlying 0    .
        ount 5    Indictments                              IS    181 are dismissed On the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fmes, restirution, costs, and special assessments imposed by this judgment are fully paid If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic cireumstances.




                                                                       ;llonorable KarenK. Caldw~1LC:hiefU.S. DistrictJudge._ _ __
                                                                        Name and Title of Judge



                                                                        Date
           Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 2 of 6 - Page ID#:
A0245B                                        17669
           {'Rev. 09111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment


                                                                                                        Judgment-Page ""__ ~ of        ~6~_
 DEFENDANT:                     RUSSELL CLEIUS MARICLE
 CASE NUMBER:                   6:09-CR-16-SSS-KKC-Ol Formerly 6:09-CR-16-S-DCR-Ol


                                                                  IMPRISONMENT
          The defendant is hereby committed to the custody of the United Slates Bureau of Prisons to be imprisoned for a
 total term of:     time served



      o       The court makes the following recommendations to the Bureau of Prisons:




      o       The defendant is remanded to the custody of the United Stales Marshal.


      o       The defendant shall surrender to the United States Marshal for this district:

          o       at                                   o   a.m.    o   p.m.    on

          o       as notified by the United States Marshal.

      o       The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:

          o       before 2 p.m. on

          o       as notified by the United Slates Marshal.

          o       as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 at                                      _ _ _ _ , with a certified copy of this judgment.


                                                                                   ..~-   "~"--"""'UN=lT"B~DCO'S""TA'"TE=S7MARS~"HAL'=--~"--"-




                                                                              By
             Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 3 of 6 - Page ID#:
AO 245B                                         17670
            (Rev. 09111) Judgment in a Criminal Case
            Sheet 3   Supervised Release


                                                                                                          Judgment-Page   ~._3_ _   of
 DEFENDANT:                    RUSSELL CLETUS MARICLE
 CASE NUMBER:                  6:09-CR-16-SSS-KKC-Ol Fonnerly 6:09-CR-16-S-DCR-Ol

                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:            Two (2) Years


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofth. Bureau ofPrisons.
The defendant shall not commit another fuderal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. Tne defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check. if applicable.)
          The defendant shall not possess a frrearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as direeted by the probation officer. /Check. if applicable.)

          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.s.C. § 16901, et
 o        seq.) as dirccted by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of suporvised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that bave been adopted by this court as well as with any additional
conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other filmi\y responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant sball notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shan refrain from excessive use of alcohol and sball not purchase, possess, use, distribute, or administer any controlled
         substance or any parapheroalia related to any controlled substances, except as prescribed by a physician;
   8)    the defundant shall not frequent places where controlled substances are iUegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or ber at any time at home or elsewbere and shall permit confiscation of any
         contraband observed in plain view ofthe probation officer;
  I I)   the defendant shan notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant sball not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the
         permission oftbe court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.
             Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 4 of 6 - Page ID#:
AO 245B                                         17671
            (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3C ~ Supervised Release

                                                                                                    Judgment~Page   _ _4:...-_ of       6
 DEFENDANT:                   RUSSELL CLETUS MARICLE
 CASE NUNffiER:               6:09-CR-16-SSS-KKC-O 1 Formerly 6:09-CR-l6-S-DCR-Ol

                                             SPECIAL CONDITIONS OF SUPERVISION


          Tbe defendant sball serve six (6) montbs of bome incarceration and sball not leave bis residence, except in tbe case
          of a medical emergency, during tbis period.

          Tbe defendant sball perform 200 bours of community service at tbe direction of bis probation officer.

          Tbe defendant sball not participate, in any form or manner, in any political process.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice fur All A<;t of2004, the defendant shall submit to
DNA collection if the offense of conviction is a felony.




                                                          ACKNOWLEDGMENT


Upon a finding of a violation of probation or supervised release, I understand that the Court may (I) revoke supervision, (2) extend the term
of supervision, andior (3) modity the conditions ofsupervision.

These <;onditions have been rend to me. I fully understand the conditions and have been provided a copy of them.


(Signed) ._ _ _ _ _~
        (Defendant)                                                          Date



          U. S. Probation OfficerIDesignated Witness                         Date
              Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 5 of 6 - Page ID#:
AO 245B                                          17672
             (Rev. 09111) Judgment in a Criminal Case
             Sheet 5   Criminal Monetary Penalties


                                                                                                             Judgment ~- Page _-"-...~ ..   of    6
  DEFENDANT:                          RUSSELL CLETUS MARICLE
  CASE NUMBER:                        6:09-CR-16-SSS-KKC-O I Formerly 6:09-CR-16-S-DCR-O I

                                                  CRIMINAL MONETARY PENALTIES

          The defendant must pay the total crimina! monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                               Fine                                Restitutiou
  TOTALS               $ 100.00                                               $ Waived                              $ N/A

  o    The determination of restitution is deferred until                          An Amended Judgmem in a Criminal Case (.40 245C) will be entered
       after such determination.

  o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa}ment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{i), all nonfedera!
          victims must be paid before the United States is paid.

  Name of Payee                                   Total Loss*                            Restitution Ordered                    Priority or Percentage




 TOTALS                                  $


 o        Restitution amount ordere4 pursuant to plea agreement $

 o        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day afterthe date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and delilult, pursuantto 18 U.S.C. § 3612(g).

 o        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o     the interest requirement is waived for the            0       fine    0     restitution.

       o     the interest requirement for the           0   fine       0      restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses contntitted on or
after September 13, 1994, bnt before April 23, 1996.
                Case: 6:09-cr-00016-KKC-REW Doc #: 1639 Filed: 04/16/14 Page: 6 of 6 - Page ID#:
AO 245B                                            17673
                (Rev. 09!ll) Judgmentln a Criminal Case
                Sheet 6     Schedule of Payments

                                                                                                         Judgmenl- Page       6       of
  DEFENDANT:                        RUSSELL CLETUS MARICLE
  CASE NUMBER:                      6:09-CR-16-SSS-KKC-Ol }<'ormerly 6:09-CR-16-S-DCR-Ol

                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     I'XI    Lump sum payment of$.!QOJlO_~..                 due immediately, balance due

                n         not later than _ _. _..._ _..           , or
                1511      in accordance     n C, n      D       r E, or       1511 F below; or

  B     n       Payment to begin immediately (may be combined with            n    C,    n       D,or     n    F below); or

  C     n         Payment in equal                      (e.g" weekly, monthly, quarterly) installments of $ ~ .. _ _.. _ _ over a period of
               _ .._ .._ .._ _ (e.g" months or years), to commence _ _.._ .._ (e.g., 30 or 60 days) after the date of this judgment; or

  D     n       Payment in equal .                (e,g" weekly, monthly, quarterly) installments of $ .___..,._ _.._ over a period of
               _._ _.__ (e.g., months or years), to commence , .._ _..__ (e.g, 30 or 60 days) after release from imprisonment to a
                tenn of supervision; or

  E     n       Pa)ment during the tem of supervised release will commence within     _ .._ _.._ (e.g, 30 or 60 days) after release from
                imprisonment, The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

  F     IX!     Special instructions regarding the payment of criminal monetary penalties:

                Criminal monetary penalties are payable to;
                Clerk, U, S, District Court, Eastern District of Kentucky
                310 S, Mall Street, Room 215, London KY 40741

                INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,

  o     Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
        corresponding payee, if appropriate,




 o        The defendant shall pay the cos! of prosecution,

 o        The derendant shall pay the following court cost(s):

 Ii!!     The defendant shall rorfeit the defendant's interest in the following property to the United States:
          As listed in the forfeiture allegation of the indictment,

Payments shall be applied in the following order; (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
